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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

PETERSEN ENERGÍA INVERSORA, S.A.U. AND
PETERSEN ENERGÍA, S.A.U.,
                                              No. 15 Civ. 2739 (LAP)
                      Plaintiffs,
     - against -

ARGENTINE REPUBLIC AND YPF, S.A.,

                      Defendants.

ETON PARK CAPITAL MANAGEMENT, L.P., ETON
PARK MASTER FUND, LTD., AND ETON PARK
FUND, L.P.,
                                              No. 16 Civ. 8569 (LAP)
                      Plaintiffs,

     - against -

ARGENTINE REPUBLIC AND YPF, S.A.,

                      Defendants.


        PLAINTIFFS’ MEMORANDUM OF LAW IN OPPOSITION TO
 THE ARGENTINE REPUBLIC’S MOTION TO STAY EXECUTION OF JUDGMENT
                         PENDING APPEAL
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                                        INTRODUCTION

       The Republic presents a deeply distorted picture of the issue before this Court – namely,

whether the Republic has met its heavy burden to establish entitlement to the extraordinary relief

of an unsecured stay pending appeal of a multi-billion-dollar judgment, both generally and

particularly in light of its own sordid history of trying to evade its payment obligations. In the

Republic’s telling, denial of an unsecured stay will cause its assets around the globe to leap

suddenly into Plaintiffs’ hands and then dissipate before the Second Circuit decides its appeal,

while Plaintiffs would suffer no harm by waiting a year or more to begin the arduous process of

collecting the Judgment they have been pursuing for over a decade. Nothing could be further from

reality. The Republic has spent many years designing its affairs to place its assets out of creditors’

reach, and its Motion makes clear that collection of this Judgment will require painstaking effort

to discover executable assets, obtain recognition of the Judgment in the jurisdictions where such

assets are located, and then litigate the Republic’s objections to execution on those assets – all of

which the Republic will vigorously resist. In other words, the risk that Plaintiffs will be able to

seize and dissipate assets during the appeal is nil.

       In truth, the Republic’s stated concerns are illusory; its real objective is to frustrate and

delay collection of the Judgment at every turn, by any means possible. Indeed, Plaintiffs have

offered not to seize or attach any assets in exchange for the Republic’s agreement to permit

procedural enforcement steps to move forward unobstructed during the appeal, which the Republic

has rejected. The Republic knows full well that its stated concerns about asset dissipation are

manufactured, and its real objective is delay.

       Furthermore, Plaintiffs will suffer substantial prejudice from an unsecured stay. The sheer

size of the Judgment means that Plaintiffs have a very long road ahead to identify and attach
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executable assets sufficient to satisfy their claim. Additionally, the Judgment’s accrual of post-

judgment interest at 5.42% will not fully compensate Plaintiffs for delayed collection because it is

a small fraction of the actual market cost of serving as a forced, unsecured creditor of Argentina.

       The Republic realizes that its position is meritless under the Second Circuit law governing

its Motion – the five-factor test set out in In re Nassau County Strip Search Cases, 783 F.3d 414

(2d Cir. 2015) – so it steadfastly resists applying it and, instead, invokes other standards not

controlling here. Although the Republic begrudgingly acknowledges Nassau, it ignores every

aspect of it that protects Plaintiffs and fashions from whole cloth the impression that unsecured

stays are the norm. The Second Circuit made clear in Nassau, however, that some form of adequate

assurance that a money judgment will be paid after appeal is a mandatory prerequisite for a stay.

While a solvent debtor can sometimes meet this requirement without a bond and instead based on

a credible undertaking that it will pay the judgment voluntarily, the Republic’s lengthy history as

a recalcitrant debtor and its own Motion demonstrate that the Republic cannot possibly secure the

Judgment based on its word alone.

       One thing is clear: the Republic will not post a bond or other assets regardless of what the

Court decides. Therefore, the question before this Court is whether the Republic is entitled to a

stay notwithstanding its failure to provide any credible assurance that the Judgment will be paid if

its appeal is denied, considering the long road ahead for Plaintiffs to collect the Judgment

involuntarily. The clear answer is no. Granting the Republic’s Motion not only would contravene

controlling law, but also would unjustly privilege the Republic’s manufactured concerns over the

Plaintiffs’ legitimate interest in beginning the arduous process of recognition and enforcement of

the Judgment.




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                                          ARGUMENT

I.     Applicable Legal Standard

       Rule 62(b)1 provides that “after judgment is entered, a party may obtain a stay by providing

a bond or other security.” Fed. R. Civ. P. 62(b). “[T]he purpose of [FRCP 62(b)] is to ensure that

the prevailing party will recover in full, if the decision should be affirmed, while protecting the

other side against the risk that payment cannot be recouped if the decision should be reversed.”

Nassau Cnty., 783 F.3d at 417–418 (internal citations omitted). “Rule 62(d) is not couched in

discretionary language.” Moore v. Navillus Tile, Inc., No. 14 CIV. 8326, 2017 WL 4326537, at *1

(S.D.N.Y. Sept. 28, 2017). Rather, a district court has discretion to waive the bond requirement

under Rule 62(b), but only so long as “the appellant provides an acceptable alternative means of

securing the judgment.” Nassau Cnty., 783 F.3d at 417–418 (internal citations omitted); see also

Moore, 2017 WL 4326537 at *6 (denying stay where defendant offered nothing to “ameliorate the

plaintiffs’ legitimate fears” and court had no way “of fashioning an appropriate alternative form

of security”). The Republic bears “the burden of providing specific reasons why the court should

depart from the standard requirement of granting a stay only after posting of a [full] supersedeas

bond.” de la Fuente v. DCI Telecomm., Inc., 269 F. Supp. 2d 237, 240 (S.D.N.Y. 2003).

       Thus, credible assurance that the Republic will pay the Judgment if it loses on appeal is a

mandatory prerequisite to issuance of a stay. While Nassau further held that a solvent debtor’s

clear ability and intent to pay can satisfy this requirement in some limited circumstances, it

identified five non-exclusive factors that this Court should consider in making that determination:

               (1) the complexity of the collection process; (2) the amount of time
               required to obtain a judgment after it is affirmed on appeal; (3) the

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        Rule 62 was reorganized in 2018, moving former Rule 62(d) to current Rule 62(b) and
adding the words “other security” (which “makes explicit the opportunity to post security in a form
other than a bond”). See Fed. R. Civ. P. 62, Advisory Committee Notes to 2018 Amendments.
Thus, case law refers variously to Rule 62(b) and Rule 62(d), depending on the date of the decision.
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               degree of confidence that the district court has in the availability of
               funds to pay the judgment; (4) whether the defendant’s ability to pay
               the judgment is so plain that the cost of a bond would be a waste of
               money; and (5) whether the defendant is in such a precarious
               financial situation that the requirement to post a bond would place
               other creditors of the defendant in an insecure position.

783 F.3d at 417–418. Following Nassau, this Court has routinely applied these factors when

deciding whether to waive the bond requirement. See, e.g., Sire Spirits, LLC v. Green, No. 21 Civ.

7343 (JPC), 2023 WL 1516574 (S.D.N.Y. Feb. 3, 2023); EMA Fin., LLC v. Joey N.Y. Inc., No.

17-CV-9706 (VSB), 2022 WL 2399754 (S.D.N.Y. July 1, 2022); Fry v. Lagerstrom, No. 15 Civ.

5348 (NRB), 2018 WL 4935805 (S.D.N.Y. Oct. 10, 2018).

       No doubt because the Nassau factors weigh decisively against it, the Republic invokes stay

factors derived from Hilton v. Braunskill, 481 U.S. 770, 776 (1987), that traditionally apply to

non-monetary judgments. The Second Circuit, however, held explicitly that the Nassau factors,

“in contrast to the traditional stay factors, more directly address the primary purpose of Rule 62(d):

to ensure recovery for a party who ultimately prevails on appeal, and to protect the judgment debtor

from the risk of losing the money if the decision is reversed.” Nassau Cnty., 783 F.3d at 418.

Subsequent precedent makes it clear that the Hilton factors apply “only when the judgment sought

to be stayed is for injunctive or equitable relief.” Moore, 2017 WL 4326537 at *4 (observing that

Hilton itself involved non-monetary habeas relief that the Supreme Court explicitly analogized to

Rule 62(c) rather than Rule 62(d)); Butler v. Ross, No. 16-cv-1282 (DLC), 2017 WL 6210843, at

*2 (S.D.N.Y. Dec. 7, 2017) (“[A] motion for a stay of money judgment is assessed under the

announced test for Rule 62(d) [rather than] the test used when assessing a Rule 62(c) motion.”);

John Wiley & Sons, Inc. v. Book Dog Books, LLC, 327 F. Supp. 3d 606, 649 (S.D.N.Y. 2018)




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(following Moore and Butler).2 For completeness, Plaintiffs demonstrate below that the Motion

also fails even under the Hilton factors, but it is clear that the Nassau test governs the Republic’s

Motion in this Circuit.

II.    Argentina Is Not Entitled to a Stay Without Posting a Bond or Other Security.

       The Nassau factors weigh decisively against the Motion and thus the Republic’s word

alone cannot provide acceptable assurance that the Judgment will be paid if it loses its appeal –

and the Republic in any event has not even given its unsecured word that it will pay the Judgment.

       A.      Collection of the Judgment Will Be Complex and Time Consuming.

       The first Nassau factor weighs against an unsecured stay when collection of the judgment

will be complex and time-consuming. See, e.g., Moore, 2017 WL 4326537 at *2 (denying

unsecured stay in part because debtor’s “net worth is tied up in hard assets [such that] collection

of this judgment would be complicated and time consuming”). Here (1) the Republic has no

intention of paying the Judgment voluntarily, (2) the Republic’s status as a foreign sovereign will

complicate collection, and (3) the Republic’s history and the Motion itself confirm that collection

will be a slow and arduous process.

       First, the Republic has no intention of paying the Judgment voluntarily if it loses on appeal,

unlike other cases in which debtors have persuaded courts to waive the bond requirement based

on their word alone. See, e.g., Nassau Cnty., 783 F.3d at 418 (appellant county passed an ordinance

appropriating funds to pay the judgment); Cayuga Indian Nation of N.Y. v. Pataki, 188 F. Supp.

2d 223, 254 (N.D.N.Y. 2002) (defendant provided “assurances through its Director of the Division



2
        This Court applied Hilton in E.J. Brooks Co. v. Cambridge Sec. Seals, No. 12-CV-2937
(LAP), 2016 WL 908633, *1 (S.D.N.Y. Mar. 2, 2016), but neither the opinion nor the party
briefing discussed Nassau at all, and thus the Court did not consider how Nassau affects continued
application of the Hilton test. See Moore, 2017 WL 4326537 at *4 (declining to follow E.J. Brooks
because the Court “believe[s] this case to have relied on the wrong test in reaching its result”).
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of Budget that ‘it will satisfy any judgment determined after exhausting appeals’”). In this case,

the Republic has not even expressed a generalized commitment that it will pay the Judgment if it

loses its appeal. To the contrary, when Plaintiffs’ counsel invited the Republic during closing

arguments to make a “precommitment that you’re actually going to pay this judgment when it’s

entered and affirmed on appeal,” the Republic’s counsel offered no such assurance. Mastro Decl.,

Ex. A at 489–90. In any event, no such commitment would be credible or remotely sufficient to

provide “acceptable” assurance of payment in light of the Republic’s long history of intransigence.

       The Republic’s contention that Argentine law and economic conditions preclude it from

securing the Judgment until it is non-appealable is also untrue. The Republic has assets worth

billions of dollars – including its YPF shares – that it could post as security during the appeal.

Calomiris Decl. at ¶¶ 21–35. In addition, contrary to Argentina’s self-serving assertions, there are

no legal impediments to securing the Judgment.3 Bianchi Decl. at ¶¶ 3–20.

       In any event, the reason why the Republic will not provide security is irrelevant. Regardless

of whether it cannot or simply will not provide security, the fact remains that Plaintiffs must resort

to complex and time-consuming involuntary enforcement processes to collect the Judgment, which

weighs strongly against an unsecured stay under the Nassau factors.

       Second, the fact that Argentina is a foreign sovereign weighs against an unsecured stay.

The Republic has not identified any case applying the Nassau factors that waived the requirement

to post a bond or other assets in favor of a foreign entity – much less a foreign sovereign – whose




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        The idea that a government could avoid its obligations by simply failing to appropriate
funds to pay them is, of course, absurd on its face. C.f. Me. Comm. Health Options v. U.S., 140 S.
Ct. 1308, 1331 (2019) (recognizing “a principle as old as the Nation itself—the Government
should honor its obligations”). That principle should apply as well to other nations who make
promises to investors in the United States.
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assets are located primarily outside of the United States.4 On the contrary, in every such case that

Plaintiffs have identified, the judgment debtor was a domestic entity with assets in the United

States.5 Because the Republic’s executable assets are located outside of the United States (due in

part to its multi-decade effort to resist payment of U.S. judgments), this factor too weighs against

the Motion. See 605 Fifth Prop. Owner, LLC v. Abasic, S.A., No. 21-cv-811 (DLC), 2022 WL

1422821 (S.D.N.Y. May 5, 2022) (declining to waive bond in part because debtor was “located

outside of the United States, and has resisted enforcement of its Guarantee at every stage”).

       In addition, the Republic enjoys protections as a sovereign that make involuntary collection

more difficult. Many of the Republic’s assets outside of Argentina are immune from attachment

under the FSIA and similar immunity doctrines, which weighs against an unsecured stay. See

Doraleh Container Terminal SA v. Republic of Djibouti, No. 20-02571 (BAH), Memorandum

Opinion & Order at 5 (D.D.C. Apr. 24, 2023) (finding that debtor’s sovereign immunity weighed

against unbonded stay because assets likely would be sheltered from execution). Additionally,

Argentina has opted out of expedited service under the Hague Service Convention,6 so the mere



4
        The Republic’s reliance on Petroleos de Venezuela S.A. v. MUFG Union Bank, N.A., No.
19 Civ. 10023 (KPF), 2020 WL 7711522 at *2 (S.D.N.Y. Dec. 29, 2020) is misplaced because that
judgment was secured by a pledge of shares that “suffices to satisfy the ‘other security’
requirement of Rule 62(b).” Also, Morgan Guar. Tr. Co. v. Republic of Palau, 702 F. Supp. 60
(S.D.N.Y. 1988) is distinguishable because that case predated and did not apply the Nassau factors,
and in any event, the Court conditioned a stay on Palau’s “posting of a partial supersedeas bond in
the amount of all the interest payments due since default.” Id. at 65.
5
        See In re Nassau Cnty., 783 F.3d at 416; Ortiz v. Stambach, No. 1:16-CV-00321 EAW,
2023 WL 3089087 (W.D.N.Y. Apr. 26, 2023); Seneca Nation of Indians v. State of N.Y., 19-CV-
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CV-0445 (DNH/TWD), 2019 WL 1872967 (N.D.N.Y. Apr. 26, 2019); Rivera v. Home Depot
U.S.A., Inc., No. 16-cv-7552 (KBF), 2018 WL 3105069 (S.D.N.Y. June 25, 2018); Miller v. City
of Ithaca, No. 3:10-cv-597 (GLS/DEP), 2017 WL 61947 (N.D.N.Y. Jan 5, 2017). Notably, in most
of these cases, the judgment debtor demonstrated its ability and intent to pay by segregating
specific assets for purposes of satisfying the judgment.
6
        See the website of the Hague Conference on Private International Law.
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commencement of recognition and attachment actions in other courts must be served through its

Central Authority (which can take from 6 months to well over a year). See, e.g., Artnet Worldwide

Corp., Inc. v. Gruber, 21 Civ. 10459 (JHR), 2023 WL 6390167 (S.D.N.Y. Oct. 2, 2023), at *2

(noting that service through Argentina’s Central Authority was incomplete after 18 months despite

plaintiff making “every reasonable effort”). As discussed below, the Republic’s flat refusal of a

compromise that would ensure no assets are attached or seized during the appeal in exchange for

accepting service and other procedural concessions is telling. Mastro Decl., Exs. B–C.

       Third, Argentina’s long history of resisting payment of U.S. court judgments confirms that

the “collection of this judgment [will] be complicated and time consuming.” Moore, 2017 WL

4326537, at *2. See, e.g., NML Cap., Ltd. v. Republic of Argentina, 699 F.3d 246, 262 (2d Cir.

2012); EM Ltd. v. Republic of Argentina, 473 F.3d 463, 467 n.2 (2d Cir. 2007) (“Argentina has

made many contributions to the law of foreign insolvency through its numerous defaults on its

sovereign obligations, as well as through what we might term a diplomacy of default.”); EM Ltd.

v. Republic of Argentina, 865 F. Supp. 2d 415, 417 (S.D.N.Y. 2012) (noting Argentina’s

“continued intransigence in failing to honor its lawful judgment debts”); EM Ltd. v. Republic of

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v. Banco Central de la. Republica Argentina, 652 F.3d 172 (2d Cir. 2011) (“What is going on

between the Republic of Argentina and the federal court system is an exercise of sheer willful

defiance of the obligations of the Republic to honor the judgments of a federal court.”).

       While Argentina alleged in its letter submission that it “has paid prior judgments as quickly

as possible” (ECF 501 at 3), that assertion is absent from its Motion, presumably because it is

demonstrably false. For example, while EM Ltd. and NML Capital Ltd. obtained judgments

against the Republic in 2003 and 2006, respectively, those cases were not settled until 2016—after



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10-plus years of enforcement efforts. Compare EM Ltd. v. Republic of Argentina, No. 03 Civ. 2507

(TPG), 2003 WL 22454934 (S.D.N.Y. Oct. 27, 2003) (amended final judgment) and NML Cap.,

Ltd. v. Republic of Argentina, No. 05 Civ. 2434 (TPG), 2006 WL 1294853 (S.D.N.Y. May 10,

2006) (summary judgment) with NML v. Republic of Argentina, No. 08-cv-6978, 2016 WL

836773, at *4-*6 (S.D.N.Y. Mar. 2, 2016) (vacatur of injunctions pending settlement), aff’d sub

nom. Aurelius Cap. Master Ltd. v. Republic of Argentina, 644 F. App’x 98 (2d Cir. 2016). Even

today, a much smaller final arbitral award rendered in 2018 remains entirely unpaid more than five

years later while Argentina continues to resist enforcement. See Reply Memorandum of Law of

the Republic of Argentina in Further Support of Its Motion to Dismiss, Titan Consortium 1, LLC

v. The Argentine Republic, No. 1:21-cv-02250 (JMC), 2022 WL 1617209 (D.D.C. Feb. 4, 2022).

       Indeed, the Motion acknowledges that such collection efforts typically entail “lengthy legal

proceedings that frequently pose significant and intractable issues.” Mot. at 17-18. Additionally,

the Motion foreshadows how the Republic plans to resist asset discovery and collection, feigning

shock at the scope of the targeted document requests that Plaintiffs have served in order to identify

potentially executable assets sufficient to satisfy this large Judgment. Mot. at 16. The Republic’s

resistance to asset discovery and attachment efforts will make involuntary collection of the

Judgment more complex and time-consuming, and therefore weighs against an unsecured stay.

       B.      Argentina Claims It Is Unable to Pay the Judgment.

       The Republic insists that it is unable to pay or secure the Judgment. Mot. at 5, 9-10.

Although Plaintiffs do not credit the Republic’s claim, its representation weighs decisively against

the Motion because the pertinent question is whether “the defendant’s ability to pay the judgment

is so plain that the cost of the bond would be a waste of money.” Nassau Cnty., 783 F.3d at 417,

quoting Olympia Equip. Leasing Co. v. Western Union Tel. Co., 786 F.2d 794, 796 (7th Cir. 1986);

see also Moore, 2017 WL 4326537 at *2 (holding that debtor’s inability to pay was “determinative

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as to factors two, three, and four” of the Nassau test); Sire Spirits, 2023 WL 1516574, at *2 (“an

inability to pay is determinative of at least these factors, and often to the entire inquiry”); John

Wiley & Sons, Inc., 327 F. Supp. 3d at 650 (denying unsecured stay based on debtor’s “inability

to pay the judgment” because bond requirement “will not be waived solely on the basis that it will

pose a severe financial hardship on the appellant”), quoting Wright & Miller, 11 Fed. Prac. & Proc.

Civ. § 2905; Butler, 2017 WL 6210843 at *3 (holding that debtor’s “impecuniosity” did not

support unsecured stay because “none of the listed Nassau County factors take into account the

consideration of the debtor’s financial insecurity as reason alone to waive the bond”).

       Having insisted that it cannot pay the Judgment, the Republic offers only a vague and

unsupported suggestion that it “is actively working to improve its credit situation, including via

negotiations with the IMF, so that it may be in a better position to pay creditors in the future.” Mot.

at 17. The Republic’s aspirations, however, are insufficient to provide Plaintiffs with any actual

assurance that the Judgment will be paid promptly following appeal, particularly when the

Republic provides no commitment (much less a credible one) that it actually would use any such

credit to pay the Judgment voluntarily and promptly.7




7
        The Nassau factors contemplate waiving bond only upon adequate assurance that the
Judgment will be paid “promptly” following appeal, not at some unspecified time in the future
when Argentina’s economy may improve. See Conte v. Cnty. of Nassau, No. 06-CV-4746
(JFB)(ARL), 2017 WL 9478355, *4 (E.D.N.Y. May 4, 2017) (declining to waive bond
notwithstanding defendant’s showing that “funds are available for the purpose of satisfying any
money judgments,” because defendant presented no evidence “that specific funds have been
encumbered to cover the current judgment” such that defendants would be able to pay “‘without
substantial delay or other difficulty’” following appeal) (quoting Nassau Cnty., 783 F.3d at 418);
see also Gilead Comm. Services, Inc. v. Town of Cromwell, 604 F.Supp. 3d 1, 34 (D. Conn. 2022)
(conditioning stay on defendant town showing that “funds have been allocated or unencumbered
specifically to ensure that the judgment will be paid within thirty days of the Second Circuit’s
decision”).
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        Finally, the Republic’s argument that payment is secure because it is a sovereign nation

that “is not going anywhere,” Mot. at 21, fails because Argentina’s mere existence is not the issue.

If it were, no sovereign nation ever would be required to post a bond, but the high bar to obtain

“an extraordinary departure” from the normal requirement to provide security in exchange for a

stay “applies to foreign sovereigns, just the same as to any party seeking an unbonded stay.”

Doraleh, Memorandum Opinion & Order at 2. Responding specifically to the argument that a

sovereign nation should be presumed creditworthy, the Doraleh court correctly observed:

                Finally, while as a nation state Djibouti’s net worth likely vastly
                exceeds the award, this status entitles the country to sovereign
                immunity, which is likely to be invoked to shelter assets from
                execution. That execution immunity in effect limits the relevant
                ratio of judgment to net worth. Further, as petitioner points out, an
                unbonded stay will provide Djibouti a window of time to “shift
                whatever non-immune assets it has beyond [petitioner]’s reach
                while the appeal is pending.” While making much of the general fact
                of its solvency, Djibouti offers no assurances that the country will
                “waive[] its immunity from attachment in aid of execution or from
                execution,” 28 U.S.C. § 1610(a)(1), so that any particular assets or
                amount of money will actually be subject to execution when the time
                comes. Djibouti therefore has not met its burden of establishing that
                an unbonded stay will not “unduly endanger” petitioner’s interest in
                its “ultimate recovery,” requiring the denial of its motion.

Id. at 5 (internal citations omitted).8

        C.      Argentina Has Not Shown that Posting Security Would Prejudice Other Creditors.

        The Republic argues that the fifth Nassau factor supports its Motion because failure to

issue a stay would “jump-start global collection proceedings by Plaintiffs and thereby

unnecessarily place the Republic’s other creditors ‘in an insecure position.’” Mot. at 18. The fifth

Nassau factor, however, does not inquire whether the judgment itself or efforts to enforce it could



8
         Doraleh considered “(1) the damage award amount, (2) the net worth of the moving party
in relation to the damage award, and (3) the residency status of the moving party,” id. at 4, which
(like Nassau) balances complexity of collection with the debtor’s ability to pay.
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prejudice other creditors; it inquires “whether the defendant is in such a precarious financial

situation that the requirement to post a bond would place other creditors of the defendant in an

insecure position.” Nassau Cnty., 783 F.3d at 417-18 (emphasis added); see also John Wiley &

Sons, Inc., 327 F. Supp. 3d at 650 (holding that fifth Nassau factor “requires the debtor to show

that their inability to pay other creditors would stem from the bond itself, not merely from the

judgment.”); Sire Spirits, 2023 WL 1516574 at *2 (finding that fifth Nassau factor weighed against

bond waiver where debtor “presented no evidence or argument that posting a bond would make

him unable to pay other creditors, other than his claims that he generally has no money or assets”).9

The Republic’s prejudice argument thus is a red herring because it does not even attempt to show

how posting a bond or other assets – which Argentina does not intend to do even if it could – would

prevent payment to other specific creditors, and instead “moves the goalpost” by arguing that

Plaintiffs’ efforts to enforce the judgment could have an adverse effect on its other creditors.

       Moreover, the Republic’s argument that failure to issue a stay would enable Plaintiffs to

begin collection “prematurely” also fails on its own terms. Mot. at 15; see also ECF 503 at 3

(arguing that denial of stay would allow Plaintiffs to “prematurely cut the line”). The Republic

nowhere explains why Plaintiffs should be considered in “line” behind its other creditors or why

that is relevant to this Motion. The priority of claims arises from insolvency law that does not

apply to sovereigns. See NML Cap., Ltd., 699 F.3d at 259 (“When sovereigns default they do not

enter bankruptcy proceedings where the legal rank of debt determines the order in which creditors




9
        The Republic’s reliance on Texaco Inc. v. Penzoil Co., 784 F.2d 1133, 1155 (2d Cir. 1986),
rev’d, 481 U.S. 1 (1987), for the argument that bond should be waived when the debtor “could not
‘possibly meet’ the bond requirement without entering into bankruptcy proceedings,” Mot. at 6, is
misplaced. “[T]he Supreme Court’s reversal of Texaco undermines ‘[a]ny ‘precedential value’ of
that case and ‘does not justify overlooking [the more recent holding in] Nassau County.’” John
Wiley & Sons, Inc., 327 F. Supp. 3d at 649 (quoting Moore, 2017 WL 4326537 at *5).
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will be paid. Instead, sovereigns can choose for themselves the order in which creditors will be

paid.”). Consequently, as the Republic acknowledges, Plaintiffs are in a pool with its other unpaid

creditors. Mot. at 19. Moreover, if other creditors have legitimate claims to legal priority over

Plaintiffs’ Judgment, they are free to assert them if and when Plaintiffs ever get to the point of

attaching assets. Indeed, if the Republic’s argument were valid, then enforcement of money

judgments would be stayed on appeal automatically in every case. That is obviously not the law.

       Stripped of these red herrings, the only potential prejudice to other creditors that the

Republic articulates is a risk that Plaintiffs will seize and dissipate assets that would then be

unavailable to pay other creditors if it wins on appeal. That risk, however, is grossly exaggerated

because the process of discovering executable assets, obtaining recognition of the Judgment where

those assets are located, and litigating the Republic’s objections to attachment clearly will take far

longer than the appeal.10 Moreover, this Court (and any other court overseeing asset attachment)

has many tools to manage the risk of dissipation (such as requiring Plaintiffs to deposit any

recovered assets with the Court or another intermediary until the appeal is resolved).

       Indeed, it is clear that the Republic’s concerns about potential dissipation of assets are

exaggerated and pretextual. Plaintiffs have offered to refrain from attaching or seizing the

Republic’s assets pending appeal in exchange for the Republic’s agreement to respond to discovery

(without waiving objections), accept service of recognition actions (rather than insisting on

laborious Hague Convention service), and consent to recognition in other jurisdictions (instead of

forcing formal proceedings with an inevitable result). Mastro Decl., Ex. B. The Republic rejected




10
        According to data on the website of the U.S. Courts, the median time in the Second Circuit
from filing a notice of appeal until disposition in 13.6 months.
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that offer unconditionally, confirming that its stated concerns about asset dissipation are a fig leaf

for its true purpose of delaying and frustrating enforcement of the Judgment. Mastro Decl., Ex. C.

        Finally, even if Argentina could show that posting a bond would prejudice its other

creditors, that would not be sufficient to tip the balance in Argentina’s favor. “[E]ven if the fifth

factor favors a stay without a bond, it does not outweigh the other factors.” See John Wiley & Sons

Inc., 327 F. Supp. at 649; see also Moore, 2017 WL 4326537 at * 3 (considering the fifth Nassau

factor to be “a weak reed on which to premise an argument that the bond requirement should be

waived—especially where, as here, the movant wants it waived entirely and unconditionally”). In

this case, the first four Nassau factors weigh decisively against the Motion, and the negligible

residual risk to the Republic’s other creditors cannot tip that balance in its favor.

III.    Argentina is Not Entitled to an Unsecured Stay Under Any Other Standard.

        Because the Nassau factors defeat its position, the Republic largely ignores them and relies

instead on the Hilton factors and vague principles of international comity. While the Hilton factors

do not apply here as discussed above, they also weigh strongly against the Motion in any event

because the prejudice to Plaintiffs from delay outweighs the speculative alleged injury to the

Republic, its other creditors, and the public. The Republic’s international comity arguments also

fail.

        A.     The Hilton Factors Weigh Strongly Against the Motion.

        The Hilton standard considers “the applicant’s strong showing that he is likely to succeed

on the merits, irreparable injury to the applicant in the absence of a stay, substantial injury to the

nonmoving party if a stay is issued, and the public interest.” Uniformed Fire Officers Assoc. v. de

Blasio, 973 F.3d 41, 48 (2d Cir. 2020) (quoting Nken v. Holder, 556 U.S. 418, 434 (2009)) (internal

quotation marks omitted). “The first two factors are the most critical” and the movant bears the

burden of proof. Id. (quoting Nken, 556 U.S. at 433–434).

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               1.      The Republic Cannot Show Strong Likelihood of Success on Appeal.

       The Republic once again invokes an incorrect standard, arguing that it has a “substantial

case on the merits” of its appeal. Mot. at 19. The Republic, however, must make a “strong showing

that [it] is likely to succeed on the merits . . .” Uniformed Fire Officers Assoc., 973 F.3d at 48

(quoting Nken, 556 U.S. at 434). A “substantial case” is a more lenient standard that only should

be applied if every other factor favors granting a stay. See Morgan Guar. Tr. Co., 702 F. Supp. at

65. That is not the case here, but the Republic’s argument also fails under either standard.

       The Republic first argues that the Court decided the dispute over its objections on “forum

non conveniens and international comity grounds.” Mot. at 19. Decisions on forum non conveniens,

however, are reviewed under a high abuse of discretion standard, see Rabinowitz v. Kelman, 75

F.4th 73, 81-82 (2d Cir. 2023), and this Court twice rejected the Republic’s forum non conveniens

arguments in thoroughly reasoned decisions. See ECF Nos. 63 and 161. Similarly, the Second

Circuit was “not persuaded” by the Republic’s arguments that its expropriation actions were

entitled to protection under the FSIA, so it does not stand to reason that its vague comity arguments

will be any more persuasive. Petersen Energia Inversora S.A.U. v. Argentine Republic & YPF

S.A., 895 F.3d 194, 206 (2d Cir. 2018).

       The Republic also argues that the Court resolved questions of Argentine law over the

Republic’s own view, Mot. at 15, but the Court afforded Argentina all the deference it was due.

“A federal court should accord respectful consideration to a foreign government’s submission, but

is not bound to accord conclusive effect to the foreign government’s statements.” Petersen, 895

F.3d at 208 (quoting Animal Sci. Prod., Inc. v. Hebei Welcome Pharm. Co., 138 S. Ct. 1865, 1869,

201 L. Ed. 2d 225 (2018)). The Court’s summary judgment decision gave “respectful

consideration” to the Republic’s views on Argentine law and assigned those views “the appropriate

weight” based on the circumstances. ECF No. 437 at 17, n.5.

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       Moreover, the Second Circuit already has considered many of the underpinnings of this

Court’s summary judgment decision, again counseling that success on appeal is unlikely. These

issues include (without limitation) the Second Circuit’s conclusions that “under the bylaws,

Argentina’s expropriation triggered an obligation to make a tender offer for the remainder of

YPF’s outstanding shares,” “Petersen’s lawsuit is ‘based on’ Argentina’s breach of a commercial

obligation,” and “[w]hen Argentina asserted control over Repsol’s 51% stake in YPF via

expropriation, it incurred a separate commercial obligation under the bylaws to make a tender offer

for the remainder of YPF’s outstanding shares.” Petersen, 895 F.3d at 206-09.

       The Republic further argues that it is likely to succeed on appeal because this is the only

judgment “ever granted under Argentina law in a shareholder-against-shareholder action seeking

damages for breach of a corporate bylaws provision.” Mot. at 20. Even if this were a case of first

impression, that would merely underscore how extraordinary Argentina’s conduct in this case truly

was. But in reality, this is a straightforward breach of contract case, and the Court should continue

to reject the Republic’s efforts to mischaracterize the common commercial obligation (that it

authored) to make a tender offer to YPF shareholders as a novel issue never before encountered.

               2.      There is No Risk of Irreparable Injury to Argentina Absent a Stay.

       The Republic argues that imposing a bond requirement would cause irreparable harm

because “a bond—even if possible to secure—would come at the expense of the Argentine

populace’s needs.” Mot. at 15. Once again, the Republic’s argument attacks a straw man because

the Republic makes clear that it will not post a bond or other assets to secure the Judgment pending

appeal. The relevant question under the Hilton factors is whether Argentina would suffer

irreparable harm from the failure to issue a stay as a consequence of its failure to provide security.

Uniformed Fire Officers Assoc., 973 F.3d at 48. It plainly would not.



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       The Republic contends that asset dissipation supports its irreparable injury argument, but

as discussed above, that risk is entirely speculative and ultimately nil. The process of discovering

potentially executable assets, obtaining recognition of the Judgment where those assets are located,

and then litigating the Republic’s immunity and other objections to execution on those assets will

clearly take far longer than the Republic’s appeal. Moreover, in the highly unlikely event that

Plaintiffs get close to that finish line while the appeal is still pending, this Court (and any court

overseeing attachment) can consider and manage the risk of dissipation at that time.

       The Republic’s only remaining argument of irreparable injury absent a stay is the burden

of responding to discovery and recognition proceedings, but that risk exists whenever a money

judgment is enforceable during appeal. If the Republic’s argument were valid, unsecured stays

would be the norm rather than the exception. The Republic cites no authority for the proposition

that this “judicial efficiency” concern is sufficient reason by itself to grant an unsecured stay of

enforcement of a money judgment during appeal because that obviously is not the law.11

               3.      Plaintiffs Will Suffer Irreparable Injury if a Stay is Granted.

       The Republic’s argument that the accrual of post-judgment interest will ameliorate the very

real harm to Plaintiffs of delayed collection, Mot. at 21, is wrong for two related reasons. First,

Argentina assumes that Plaintiffs ultimately will recover both the principal amount of the

Judgment and the full amount of accrued interest, which is far from certain. Second, that

uncertainty has a cost, which is reflected in the interest rate that lenders demand to be creditors of

Argentina. As Professor Calomiris explains, the 5.42% interest rate in the Judgment is less than



11
        The Motion cites Rivera for this argument, Mot. at 15, but that case primarily waived bond
because “Plaintiff has extremely high medical expenses, is currently unemployed, and is not a U.S.
citizen,” whereas “due to the considerable assets of both Home Depot and BHIC, there is virtually
no risk that plaintiff would be unable to collect on the judgment if it is ultimately affirmed.” Rivera,
2018 WL 3105069 at *4-5. In this case, the parties’ roles are exactly reversed.
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1/3 of the interest rate demanded by Argentina’s secured creditors and less than 1/6 of the rate

demanded by its unsecured creditors. This gap between the 5.42% interest rate in the Judgment

and the true cost of being Argentina’s creditor implies a loss ranging from $2.0 billion to $4.7

billion if ultimate collection is delayed by one year. Calomiris Decl, ¶ 36.

        Additionally, delaying asset discovery and enforcement efforts during appeal will give

Argentina another year (or more) to move assets out of Plaintiff’s reach. While Plaintiffs are

sanguine about the prospects that the Republic has not largely done so already, the possibility that

Argentina will further secret its assets is certainly more significant than the remote possibility that

Plaintiffs will attach and then dissipate assets if a stay is not granted.

                4.      The Public Interest Does Not Support the Motion.

        The Republic’s arguments about the public interest mirror its arguments about irreparable

injury and fail for the same reasons. There is essentially no risk of dissipation of its assets during

the appeal, and the mere cost of responding to discovery and recognition proceedings is both trivial

in the context of this Judgment and an insufficient reason to delay commencement of those

processes. Everything else that the Republic says about potential harm to its citizens speaks to the

consequences of the Judgment itself. Payment of the Judgment will not be painless, but that is the

result of the Republic’s own breaching conduct (and delay of a reckoning), and is not a reason to

infringe Plaintiffs’ rights to begin enforcement of the Judgment.

        B.      International Comity Does Not Favor the Granting of an Unsecured Stay.

        The Republic contends that “principles of international comity weigh strongly in favor of

granting a stay without requiring a bond.” Mot. at 6, 15-18. In support, Argentina asserts that the

Supreme Court has “cautioned against” a “scenario” in which “[r]equiring a bond would

effectively ‘embroil’ the Republic in ‘expensive litigation’ proceedings around the world

concerning discovery and collection of its assets.” Id. at 6 (quoting Federal Republic of Germany

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v. Philipp, 141 S. Ct. 703, 714 (2021)). It further asserts that “‘[i]n assessing the need for a

supersedeas bond’ in particular, courts act with ‘respect for the dignity and interests’ of states and

foreign governments.” Id. at 16 (quoting Cayuga Indian Nation, 188 F. Supp. 2d at 255).

       The Republic’s reliance on Phillip is misplaced because that case did not involve any issue

of security for a stay on appeal. The Supreme Court’s observation that it interprets the FSIA in

light of international comity principles “where possible,” 141 S. Ct. at 714, is inapposite because

the Second Circuit already rejected the Republic’s FSIA objections to jurisdiction and it is not

possible to interpret FRCP 62 to provide a totally different standard for staying judgments against

foreign sovereigns while on appeal. Indeed, FRCP 62(e) explicitly waives the security requirement

to stay judgments against the United States, but has no equivalent provision for foreign sovereigns.

       Indeed, case law establishes that a foreign sovereign must satisfy the same “stringent

requirements” for an unbonded stay as any other judgment debtor. See, e.g., Preble-Rish Haiti,

S.A. v. Republic of Haiti, No. 22-cv-7503, 2023 WL 5803567, at *2 (S.D.N.Y. Sept. 7, 2023)

(requiring Haiti to post bond and rejecting international comity argument where Haiti had no FSIA

immunity); see also Gold Rsrv. Inc. v. Bolivarian Republic of Venezuela, No. 15-7158, Order at 1

(D.C. Cir. May 4, 2016) (per curiam) (denying unbonded stay because Venezuela “has not satisfied

the stringent requirements for a stay pending appeal without posting a supersedeas bond”);

Doraleh at 4 (standard for unbonded stay “applies to foreign sovereigns, just the same as to any

party seeking an unbonded stay”); Pao Tatneft v. Ukraine, No. 17-CV-582 (CKK), 2021 WL

2209460, at *3 (D.D.C. June 1, 2021) (same); Crystallex Int’l Corp. v. Bolivarian Republic of

Venezuela, No. 16-cv-00661 (RC), Order, ECF 44 at 2-3 (D.D.C. Aug. 8, 2017) (same).

       Each of the cases that Argentina cites in support of its “international comity” argument is

inapposite. Two of the cases—Cayuga Indian Nation and Easter House v. State of Ill. Dep’t of



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Children & Family Servs.—involved domestic sovereigns. Moreover, in Cayuga Indian Nation,

New York’s budget director submitted a sworn affidavit that the State would pay the judgment if

it was not successful on appeal, see 188 F. Supp. 2d 223, 255 (N.D.N.Y. 2002), and in Easter

House, the Illinois legislature devised a procedure for satisfying judgments against the state, and

the plaintiff “seriously challenge[d] neither the state’s willingness nor its ability to satisfy an

adverse judgment,” 645 F. Supp. 107, 108 (N.D. Ill. 1986). Additionally, Gates v. Syrian Arab

Republic squarely undermines the Republic’s position because that court did require Syria to post

bond. No. 06-cv-1500, 2009 WL 10693488, at *2 (D.D.C. Feb. 6, 2009). Although the court

initially granted an unsecured stay to allow Syria to appeal whether it was properly served, that

issue was resolved while the appeal was held in abeyance, and the court then required Syria to post

a $60 million bond because there was a “reasonable likelihood of Syria’s unwillingness to satisfy

the judgment in full upon ultimate disposition of the case.” Compare id. with Gates v. Syrian Arab

Republic, No. 06-cv-1500 (RMC), 2009 WL 10693489, at *1 (D.D.C. Oct. 21, 2009).

IV.    The Court Should Deny Argentina’s Alternative Request for a Temporary Stay.

       For the reasons explained above, the Court also should deny the Republic’s request for a

temporary 30-day stay to allow it to seek a stay from the Second Circuit. Courts in this circuit

sometimes do grant such temporary stays, but typically only when at least one of the broader stay

factors weighs in favor of the appellant. See, e.g., Arctic Ocean Int’l Ltd. v. High Seas Shipping

Ltd., No. 06 Civ. 1056 (LAP), 2009 WL 5103283 (S.D.N.Y. Dec. 28, 2009) (Preska, J.) (granting

10-day temporary stay where harm to non-movant was “unlikely to be substantial”); Centauri

Shipping Ltd. v. Western Bulk Carriers KS, 528 F.Supp.2d 186 (S.D.N.Y. 2007) (granting 5-day

temporary stay where there would be no substantial harm to the non-movant). In this case, there is

no risk that Plaintiffs will attach assets while the Republic requests a stay from the Second Circuit,

whereas Plaintiffs will suffer harm from delaying enforcement efforts with each day that goes by.

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Dated: November 3, 2023      Respectfully,

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